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 8                          UNITED STATES DISTRICT COURT

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,             ) 2:15-MJ-00207-AC-1
                                           ) 2:15-CR-00218-AC
12             Plaintiff,                  )
                                           ) [Proposed] ORDER TO CONTINUE
13        v.                               ) JURY TRIAL
                                           )
14   WILLIAM LOUIS FILTER,                 ) DATE: March 7, 2016
                                           ) TIME: 9:00 a.m.
15             Defendant.                  ) JUDGE: Hon. Allison Claire
                                           )
16                                         )
                                           )
17                                         )
18                                      ORDER

19        It is hereby ordered that the jury trial presently set for March
20   28, 2016 at 9:00 a.m. be continued to May 2, 2016 at 9:00 a.m.
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23   DATED: February 11, 2016
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